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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH

  BRIDGER LEE JENSEN, an individual;
  SINGULARISM, a non-profit corporation;
  PSYCHE HEALING AND BRIDGING,                        MOTION FOR ATTORNEY FEES
  LLC dba PSYCHEDELIC THERAPY                         REGARDING ORDER GRANTING
  JOURNEY; a limited liability company;                MOTION FOR PRELIMINARY
                                                             INJUNCTION
                 Plaintiffs,
  vs.                                                      Civil No. 2:24-cv-00887-JNP

  UTAH COUNTY, a political subdivision,                        Judge Jill N. Parrish
  PROVO CITY, a political subdivision;
  JEFFREY GRAY, an individual;                        (Removed from Fourth Judicial District
                                                    Court, Utah County, State of Utah, Case No.
                                                                   240406123)
                 Defendants.




        Plaintiffs Bridger Lee Jensen, Singularism, and Psyche Healing and Bridging LLC (dba

 Psychedelic Therapy Journey) (“Plaintiffs” or “Singularism”) hereby file this Motion for Attorney

 Fees Regarding Order Granting Motion for Preliminary Injunction.

                                        BACKGROUND



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        1.     On November 19, 2024, Singularism filed its Complaint against Defendants in state

 court, along with a Motion for Temporary Restraining Order and Preliminary Injunction. See ECF

 2-2, 2-3.

        2.     On November 27, 2024, Defendants removed the case to this Court. See ECF 2.

        3.     On December 4, 2024, at the Court’s direction, Singularism re-filed its Motion for

 Temporary Restraining Order and Preliminary Injunction (the “Motion”) in this Court. See ECF

 5, 9. Following Defendant’s brief opposing the Motion, Singularism filed a reply brief in support

 of the Motion, see ECF 19, 21.

        4.     On December 13, 2024, the Court held a hearing on the temporary restraining order

 portion of Singularism’s Motion, and issued a temporary restraining order, requiring Defendants

 “to return [Singularism’s] ps[i]loc[y]bin and records seized on November 11 to Plaintiffs as soon

 as possible.” See ECF 24. In granting this portion of Singularism’s Motion, the Court relied upon

 Utah’s Religious Freedom Restoration Act, Utah Code § 63G-33-201 (“Utah’s RFRA”). Id. The

 Court later stayed the portion of the temporary restraining order regarding Singularism’s

 psilocybin. See ECF 56.

        5.     In an effort to obtain discovery to oppose the Motion, on December 20, 2024,

 Defendants filed a Joint Motion for Expedited Discovery, see ECF 44, which Singularism opposed,

 see ECF 47, and the Court denied on January 7, 2025, see ECF 56.

        6.     Ahead of a hearing on the preliminary injunction portion of Singularism’s Motion,

 Defendants sought leave to file a supplemental brief opposing the Motion. See ECF 64. The Court

 granted that leave and permitted Singularism to file a responsive supplemental brief, see ECF 65,

 which it did, see ECF 71.


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         7.      On January 23, 2024, the Court held a hearing on the preliminary injunction portion

 of Singularism’s Motion. Following the hearing, the Court ordered the parties to provide

 supplemental briefing, see ECF 77, which Singularism submitted to the Court, see ECF 85.

         8.      On February 20, 2025, the Court granted Singularism’s request for a preliminary

 injunction, requiring Defendants “to return any items seized from Singularism’s spiritual center

 not yet returned as soon as possible but no later than 14 days from the date of this order” (thereby

 lifting the stayed portion of the temporary restraining order), and ordering Defendants “to not

 interfere with Plaintiffs’ sincere religious use of psilocybin from the date of this order until this

 litigation is complete.” See ECF 92. In granting this portion of Singularism’s Motion, the Court

 relied upon Utah’s RFRA. Id.

                                            ARGUMENT

    I.        Singularism Is Entitled to an Award of Attorney Fees and Costs Incurred in
              Bringing and Prevailing Upon Its Motion for Temporary Restraining Order and
              Preliminary Injunction.

         “A person who prevails in an action to enforce the provisions of [the Utah RFRA] against

 a government entity is entitled to recover reasonable attorney fees and costs.” Utah Code § 63G-

 33-201(6) (emphasis added). See also Church of the Holy Light of the Queen v. Holder, 584 F.

 App’x 457, 458 (9th Cir. 2014) (awarding attorney fees to prevailing party under the federal

 RFRA); DiLaura v. Twp. of Ann Arbor, 471 F.3d 666, 670-71 (6th Cir. 2006), as amended on

 denial of reh’g and reh’g en banc (June 12, 2007) (same).

         A plaintiff prevails “when actual relief on the merits of his claim materially alters the legal

 relationship between the parties by modifying the defendant’s behavior in a way that directly

 benefits the plaintiff.” Verlo v. City & Cnty. of Denver, 789 F. App’x 709, 712 (10th Cir. 2019).


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 “Relief on the merits occurs when plaintiffs ‘succeed on any significant issue in litigation which

 achieves some of the benefit the parties sought in bringing suit.’” Id. (quoting Hensley v.

 Eckerhart, 461 U.S. 424, 433 (1983)). “And a material alteration of the parties’ legal relationship

 occurs when there is ‘judicial imprimatur on the change.’” Id. (quoting Buckhannon Bd. & Care

 Home, Inc. v. W. Va. Dep’t of Health & Human Res., 532 U.S. 598, 605 (2001)). See also Kansas

 Jud. Watch v. Stout, 653 F.3d 1230, 1235-40 (10th Cir. 2011) (explaining this standard as described

 by the U.S. Supreme Court in Texas State Teachers Ass’n v. Garland Independent School

 District (TSTA), 489 U.S. 782 (1989)); Republican Party of New Mexico v. Torrez, No. 1:11-CV-

 900-WJ-KBM, 2024 WL 363188, at *1 (D.N.M. Jan. 31, 2024) (“It is settled law that a preliminary

 injunction may serve as the basis for conferring prevailing-party status”); Grace Bible Fellowship

 v. Polis, 694 F. Supp. 3d 1338, 1353 (D. Colo. 2023) (granting an “award of interim attorney fees”

 to a religious organization that prevailed at the preliminary injunction stage); Inst. for Just. v.

 Laster, No. CIV-19-858-D, 2022 WL 17903784, at *2 (W.D. Okla. Dec. 23, 2022) (granting award

 of attorney fees to party that prevailed at the preliminary injunction stage).

        In Kansas Jud. Watch, the Tenth Circuit explained that a plaintiff that obtains a preliminary

 injunction amounts to a prevailing party where “the injunction . . . provide[s] at least some relief

 on the merits of the plaintiff’s claim(s). A preliminary injunction provides relief on the merits

 when it (a) affords relief sought in the plaintiff’s complaint and (b) represents an unambiguous

 indication of probable success on the merits.” 653 F.3d at 1238. In that case, the Tenth Circuit

 deemed a plaintiff which obtained a preliminary injunction to be a prevailing party and ordered an

 award of attorney fees in the plaintiff’s favor. Id. at 1239. The Court observed that the preliminary




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 injunction at issue granted one type of relief sought in the complaint and carefully analyzed and

 indicated plaintiff’s likelihood of success on the merits. Id.

          Here, because the Court resolved the Motion through an analysis of the Utah RFRA, that

 statute’s mandatory attorney fee provision applies if Singularism is a prevailing party. And it is.

 As in Kansas Jud. Watch, the Court’s grant of the Motion (in part, first, through the Court’s TRO,

 and in additional part, second, through the Court’s preliminary injunction order) indicates

 Singularism succeeded in obtaining much of the relief it requested in its complaint: return of its

 sacred scripture, return of its sacramental psilocybin, return of all other objects unlawfully seized

 by Defendants during their search of Singularism’s spiritual center, and an order enjoining

 Defendants from interfering with Singularism’s religious free exercise during the pendency of this

 action. The Court’s orders granting the Motion materially alter the legal relationship between the

 parties by modifying Defendants’ behavior in a way that directly benefits the plaintiff—here,

 through receipt of the seized items and a protective injunction to safeguard their religious free

 exercise. The Court’s orders granting the Motion are a judicial imprimatur that caused the material

 alteration of the legal relationship between the parties. Further, both the Court’s TRO and

 preliminary injunction order represent an unambiguous indication of substantial likelihood of

 success on the merits. Thus, under the authorities stated above, Singularism plainly qualifies as a

 prevailing party and is entitled to attorney fees and costs.

    II.      Singularism’s Attorney Fees Incurred in Bringing and Prevailing Upon Its Motion
             for Temporary Restraining Order and Preliminary Injunction Are Reasonable.

          Singularism seeks attorney fees in the amount of $99,396.00. The factual basis for this

 figure is detailed in the attached declaration and in the following authority.



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        To determine a reasonable attorney’s fee, a “lodestar” figure is arrived at by
        multiplying the hours . . . counsel reasonably spent on the litigation by a reasonable
        hourly rate. Factors for determining the reasonableness of the hours billed for a
        given task or in defense of the litigation as a whole include: the complexity of the
        case; the number of reasonable strategies pursued; the responses necessitated by the
        maneuvering of the other side; and the potential duplication of services.

 Prisbrey v. State Auto Ins. Companies, No. 4:21-CV-00124-DN, 2024 WL 476654, at *1 (D. Utah

 Feb. 7, 2024) (quotation omitted).

        The first step in calculating the lodestar is to determine the number of hours
        reasonably spent by counsel for the party seeking fees. In assessing the
        reasonableness of counsel’s claimed hours, the court considers: (a) whether the
        hours are supported by adequate billing records; (b) whether the attorney has
        exercised billing judgment; and (c) whether the hours expended on each task are
        reasonable.

 John Bean Techs. Corp. v. B GSE Grp., LLC, No. 1:17-CV-00142-RJS, 2023 WL 6164322, at *18

 (D. Utah Sept. 21, 2023) (cleaned up) (quotations omitted). The second step in the lodestar analysis

 is to determine whether “the requested rates are in line with those prevailing in the community for

 similar services by lawyers of reasonably comparable skill, experience, and reputation.” Id. at *23.

        Under these reasonableness factors, Singularism’s request for attorney fees is reasonable.

 To secure its rights to religious free exercise, Singularism had to take extraordinary legal action,

 through the filing of its Motion, to obtain relief from the Court. Such involved a complex analysis

 of the Utah RFRA and related constitutional issues, especially as this case presents the first

 instance of the Utah RFRA’s interpretation. Even so, Singularism pursued a straightforward

 strategy to obtain that relief through the Motion. However, Singularism was required to respond

 to substantial maneuvering by Defendants. For example, after preparing and filing its Motion in

 state court, Singularism had to revise and re-file its Motion in federal court because of Defendants’

 removal of the action. Singularism also had to respond to overlength briefing, as well as to


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 supplemental briefing Defendants filed in opposition to the Motion. Additionally, Singularism had

 to oppose Defendants’ related motion that sought expedited discovery in order to oppose

 Singularism’s Motion. Singularism also had to oppose Defendant’s motion for a stay. And while

 not the result of Defendants’ actions, Singularism also needed to respond to the Court’s

 supplemental briefing order. All considered, Singularism was required to brief nearly 100 pages

 of argument and evaluate a substantial amount of related and evolving discovery, all on an

 expedited basis, in order to obtain victory on its Motion.

        The time expended by Singularism’s attorneys to complete all the above, as well as prepare

 for two full-day hearings before the Court, was reasonable. Each of Singularism’s attorneys’ time

 records are supported by billing records described in the attached affidavit. Those entries indicate

 each attorney exercised billing judgment, demonstrating a division of research and drafting tasks

 as not to duplicate work, and in a reasonable amount of time. Further, the rates charged by each of

 Singularism’s attorneys are in line with those prevailing in the community, if not lower than the

 prevailing rate, for similar services by lawyers of reasonably comparable skill, experience, and

 reputation. For example, no senior attorneys were employed on this matter, even though cases

 involving religious free exercise require a niche area of legal experience.

        The time entries reflected in the attached affidavit do not include time spent drafting

 Plaintiff’s Complaint or Amended Complaint, researching or briefing Singularism’s motion for

 anti-suit injunction, opposing Defendants’ motion to dismiss, the portion of the preparation and

 attendance at the January 23, 2025 hearing devoted to those matters, and any matters solely related

 to the criminal proceedings, which, considered together, amounts to approximately $38,000.

 Singularism does not seek that sum in this motion for attorney fees at this time.


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         The time entries reflected in the attached affidavit are set forth in two spreadsheets: (1) a

 spreadsheet detailing all work related to the Motion, including that regarding Defendants’ motion

 to stay a portion of the TRO, in the amount of $91,946.00 and (2) a spreadsheet detailing all work

 related to oppose Defendants’ motion for expedited discovery, which Defendants brought to

 oppose the Motion, in the amount of $7,450.00. Together, the amount of attorney fees sought is

 $99,396.00.

                                           CONCLUSION

         For the reasons specified above, Plaintiffs are entitled to an award of $99,396.00 in attorney

 fees.



         DATED February 21, 2025.

                                                /s/ Tanner J. Bean
                                                Tanner J. Bean
                                                Jacqueline M. Rosen
                                                Attorneys for Plaintiffs




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